
19 N.Y.2d 968 (1967)
In the Matter of Goldpap Rest., Inc., Respondent,
v.
New York State Liquor Authority, Appellant.
Court of Appeals of the State of New York.
Argued May 16, 1967.
Decided May 31, 1967.
Benjamin Laskin, Hyman Amsel and Emanuel D. Black for appellant.
Joseph A. Monica for respondent.
Concur: Chief Judge FULD and Judges VAN VOORHIS, BURKE, SCILEPPI, BERGAN and KEATING. Taking no part: Judge BREITEL.
Order reversed, determination of the Authority confirmed and petition dismissed, with costs in this court and in the Appellate Division, upon the dissenting opinion at the Appellate Division.
